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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


SYMBOLOGY INNOVATIONS, LLC,
                                                     Case No. 2:19-cv-3125-SDM-EPD
                        Plaintiff,
                                                    Judge Sarah D. Morrison
       v.                                           Magistrate Judge Elizabeth Preston Deavers


FOODFIRST GLOBAL RESTAURANTS,                       JURY TRIAL DEMANDED
INC.

                        Defendant.




                       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs

Symbology Innovations, LLC and Defendant Foodfirst Global Restaurants, Inc., by and through

their attorneys, respectfully and jointly submit this Stipulation of Dismissal of this action with

prejudice, each party to bear its own costs and fees. The parties request that the Clerk of Court

now close this case.


 Attorney for Plaintiff(s):                         Attorney for Defendant(s):


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                                            Restaurants, Inc.




IT IS SO ORDERED.


Dated:



                                                    United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2019, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.




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